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1    DAVID A. TORRES AND ASSOCIATES
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4    Email: lawtorres@aol.com
5    Attorney for:
     Enrique Rodriguez
6

7
                            IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT of CALIFORNIA
9

10
                                                    ) Case No.: Case No.12-CR-00418AWI-BAM
     UNITED STATES OF AMERICA,                      )
11
                                                    )
                   Plaintiff,                       ) STIPULATION AND ORDER TO
12
                                                    ) CONTINUE STATUS CONFERENCE
            vs.                                     )
13
                                                    )
     ENRIQUE RODRIGUEZ,                             )
14
                                                    )
                   Defendant                        )
15
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
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     BARBARA A. MCAULIFFE AND KATHLEEN ANNE SERVATIUS, ASSISTANT UNITED
17
     STATES ATTORNEY:
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            COMES NOW Defendant, ENRIQUE RODRIGUEZ, by and through his attorney of
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     record, DAVID A. TORRES hereby requesting that the Status Conference currently set for
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     Monday, March 24, 2014 be continued to Monday, April 28 2014.
21
            The continuance is needed in order to conduct further investigation and a possible
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     resolution in this matter. I have spoken to AUSA Kathleen Servatius, and she has no objection
23
     to continuing the Status Conference.
24
            The parties also agree the delays resulting from the continuance shall be excluded in the
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     interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
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2             IT IS SO STIPULATED.

3                                                             Respectfully Submitted,

4    DATED:3/19/14                                            /s/ David A Torres     ___
                                                              DAVID A. TORRES
5                                                             Attorney for Defendant
                                                              MARCO ANTONIO GRANADOS
6

7    DATED:3/19/14                                            /s/Kathleen Servatius_ ________
                                                              KATHLEEN SERVATIUS
8                                                             Assistant U.S. Attorney

9

10                                            ORDER
11

12
              IT IS SO ORDERED that the 6th Status Conference hearing be continued from March

13   24, 2014 to April 28, 2014 at 1:00 PM before Judge McAuliffe. Time is excluded pursuant to

14   18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

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     IT IS SO ORDERED.
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     Dated:     March 20, 2014                       /s/ Barbara A. McAuliffe
18                                             UNITED STATES MAGISTRATE JUDGE

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